        Case 1:21-cr-00078-RCL Document 32-1 Filed 06/11/21 Page 1 of 2




                                                         U.S. Department of Justice

                                                         Channing D. Phillips
                                                         Acting United States Attorney

                                                         District of Columbia


                                                         Judiciary Center
                                                         555 Fourth St., N.W.
                                                         Washington, D.C. 20530


                                                       June 11, 2021

Via Email
Steven Kiersh
Counsel for John Earle Sullivan
5335 Wisconsin Avenue, N.W., Suite 440
Washington, D.C. 20015
skiersh@aol.com

       Re:      United States v. John Earle Sullivan
                Case No. 1:21-cr-00078-EGS

Dear Counsel:

        The enclosed letter memorializes the provision of the following discovery in this case, via
filesharing:

             1. Grand Jury transcript and exhibits A-1-P for Superseding Indictment
             2. Provo case documents (x4)
             3. Defendant’s Discord posts (x2)
             4. Defendant’s Facebook posts (x4)
             5. Defendant’s Tiktok videos (x2)
             6. Defendant’s Youtube video of looting
             7. Social media posts of others regarding Defendant (x2)
             8. SENSITIVE: 302 for Witness
             9. 302 for W-2 (redacted)
             10. 302 for W-3 (redacted)
             11. Recorded conversation by W-3
             12. Open-source video of defendant (“minuta dogman”)

       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

       This material is being provided pursuant to the Protective Order issued in this case.
Please adhere to sensitivity markings.
        Case 1:21-cr-00078-RCL Document 32-1 Filed 06/11/21 Page 2 of 2




        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                    Sincerely,




                                                    _______________________
                                                    Candice C. Wong
                                                    Assistant United States Attorney
                                                    202-252-7849
                                                    Candice.wong@usdoj.gov




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